                               NO. 07-11-0318-CR

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL C

                               OCTOBER 13, 2011

                        ______________________________


                       SUSANNE LINDSEY HOWELL, APPELLANT

                                      V.

                         THE STATE OF TEXAS, APPELLEE


                       _________________________________

               FROM THE 108[TH] DISTRICT COURT OF POTTER COUNTY;

              NO. 61,292-E; HONORABLE DOUGLAS R. WOODBURN, JUDGE

                        _______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
Following a plea of not guilty, Appellant, Susanne Lindsey Howell, was convicted of credit card abuse and sentenced to two years confinement.
Pending before this Court is Appellant's Motion to Dismiss Appeal in which she moves to have her notice of appeal withdrawn and this appeal dismissed.  As required by Rule 42.2(a) of the Texas Rules of Appellate Procedure, the motion is signed by Appellant and her attorney.  No decision of this Court having been delivered, the motion is granted and the appeal is dismissed.  No motion for rehearing will be entertained and our mandate will issue forthwith.
							Patrick A. Pirtle
							      Justice
Do not publish.

